 8:11-cr-00424-LSC-TDT                Doc # 56    Filed: 02/03/12       Page 1 of 1 - Page ID # 118



                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                                 )
                                                          )                8:11CR424
                         Plaintiff,                       )
                                                          )
        vs.                                               )                 ORDER
                                                          )
JUAN CARLOS GARCIA,                                       )
                                                          )
                         Defendant.                       )



        This matter is before the court on the motion for an extension of time by defendant Juan Carlos

Garcia (Garcia) (Filing No. 55). Garcia seeks until February 20, 2012, in which to file pretrial motions in

accordance with the progression order. Garcia's counsel represents that Garcia will file an affidavit

wherein he consents to the motion and acknowledges he understands the additional time may be

excludable time for the purposes of the Speedy Trial Act. Garcia's counsel represents that government's

counsel has no objection to the motion. Upon consideration, the motion will be granted.



        IT IS ORDERED:

        Defendant Garcia's motion for an extension of time (Filing No. 55) is granted. Garcia is given until

on or before February 21, 2012, in which to file pretrial motions pursuant to the progression order. The

ends of justice have been served by granting such motion and outweigh the interests of the public and

the defendant in a speedy trial. The additional time arising as a result of the granting of the motion, i.e.,

the time between February 3, 2012, and February 21, 2012, shall be deemed excludable time in any

computation of time under the requirement of the Speedy Trial Act for the reason defendant's counsel

requires additional time to adequately prepare the case, taking into consideration due diligence of

counsel, and the novelty and complexity of this case. The failure to grant additional time might result in

a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

        DATED this 3rd day of February, 2012.

                                                          BY THE COURT:


                                                          s/Thomas D. Thalken
                                                          United States Magistrate Judge
